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IN THE UNITED STATES DISTRICT COURT
FEB ~ 8 20/2
FOR THE EASTERN DISTRICT OF VIRGINIA
CLERK, U.S. DISTRICT COURT
Richmond Division RICHMOND, VA

 

 

UNITED STATES OF AMERICA, ) CRIMINAL NO. 3:11CR292-REP
)
v. )
)
DAVID WHITAKER, )
)
Defendant. )

CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

COUNT ONE
(Robbery Affecting Commerce)

On or about April 30, 2011, in the Eastern District of Virginia, and within the jurisdiction
of this court, defendant DAVID WHITAKER, aiding and abetting others, did knowingly, and
unlawfully obstruct, delay and affect commerce and the movement of any article or commodity
in commerce, by knowingly and willfully committing robbery, to wit: the defendant did
unlawfully take and obtain approximately $500 in U. S. currency belonging to BP Amoco, a
business engaged in interstate commerce, in the presence of BP Amoco employees J.M. and J.G.,
against their will, by means of actual and threatened force, violence and fear of injury,
immediate and future, to their persons.

(In violation of Title 18, United States Code, Sections 1951(a) and 2).
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COUNT TWO
(Possessing a Firearm in Furtherance of A Crime of Violence)

On or about April 30, 2011, in the Eastern District of Virginia, defendant, DAVID
WHITAKER, aiding and abetting others, did knowingly possess a firearm in furtherance of the
commission of a crime of violence for which the defendant may be prosecuted in a court of the
United States, to wit: Robbery Affecting Commerce, in violation of Title 18, United States Code,
Section 1951(a), as charged in Count One of this Criminal Information, which is re-alleged as if
fully set forth and incorporated by reference herein.

(In violation of Title 18, United States Code, Sections 924(c) and 2).

COUNT THREE
(Robbery Affecting Commerce)

On or about June 5, 2011, in the Eastern District of Virginia, and within the jurisdiction
of this court, defendant, DAVID WHITAKER, aiding and abetting others, did knowingly, and
unlawfully obstruct, delay and affect commerce and the movement of any article or commodity
in commerce, by knowingly and willfully committing robbery, to wit: the defendant did
unlawfully take and obtain approximately $150 in U.S. currency belonging to the Valero Speed
Mart, a business engaged in interstate commerce, in the presence of Valero Speed Mart
employees K.E.H.Q and S.K.A., against their will, by means of actual and threatened force,
violence and fear of injury, immediate and future, to their persons.

(In violation of Title 18, United States Code, Sections 1951(a) and 2).
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COUNT FOUR
(Robbery Affecting Commerce)

On or about August 5, 2011, in the Eastern District of Virginia, and within the
jurisdiction of this court, defendant, DAVID WHITAKER, aiding and abetting others, did
knowingly, and unlawfully obstruct, delay and affect commerce and the movement of any article
or commodity in commerce, by knowingly and willfully committing robbery, to wit: the
defendant did unlawfully take and obtain approximately $200 in U. S. currency belonging to
Allied Cash Advance, a business engaged in interstate commerce, in the presence of Allied Cash
Advance employees T.W., S.T. and C.C., against their will, by means of actual and threatened
force, violence and fear of injury, immediate and future, to their persons.

(In violation of Title 18, United States Code, Sections 1951(a) and 2).

NEIL H. MACBRIDE
UNITED STATES ATTORNEY

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By: .
Erik S. Siebert

Peter S. Duffey

Assistant United States Attorneys
